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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

ANN MAHONEY and                              )
CHRISTOPHER MAHONEY,                         )
                                             )       Civil Action No.: 4:17-cv-1800
               Plaintiffs,                   )
                                             )
v.                                           )
                                             )
MONTEREY FINANCIAL                           )
SERVICES, LLC                                )
                                             )
            Defendant.                       )
___________________________________

DEFENDANT MONTEREY FINANCIAL SERVICES, LLC’S NOTICE OF REMOVAL

        Defendant Monterey Financial Services, LLC (“MFS”), by filing this Notice of Removal

and related papers, hereby removes the above-entitled action from the Circuit Court of Saint Louis

County, Missouri, to the United States District Court for the Eastern District of Missouri, Eastern

Division, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.

        In support of this Notice of Removal, MFS asserts the following:

        1.     On June 8, 2017, MFS was served with a Complaint related to an action filed in the

Circuit Court of Saint Louis County, Missouri.

        2.     The above-referenced Complaint was filed with the Circuit Court of Saint Louis

County on April 4, 2017.

        3.     In their Complaint, Plaintiffs allege that they are citizens of the State of Missouri

and residents of Saint Louis County.

        4.     MFS is a California limited liability company with a principal place of business in

the State of California.




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        5.     MFS desires to exercise its right to remove the state court action under 28 U.S.C. §

1441(a), which provides in pertinent part:

               Except as otherwise expressly provided by Act of Congress, any
               civil action brought in a State court of which the district courts of
               the Unites States have original jurisdiction, may be removed by the
               defendant or the defendants, to the district court of the United States
               for the district and division embracing the place where such action
               is pending.

        6.     The Plaintiff’s Complaint alleges that MFS violated, inter alia, the Fair Debt

Collection Practices Act (the “FDCPA”), codified at 15 U.S.C. § 1692, et seq., and the Telephone

Consumer Protection Act (the “TCPA”), codified at 47 U.S.C. § 227, et seq.

        7.     Given the allegations in the Complaint that MFS violated the FDCPA and TCPA,

this Court, pursuant to 28 U.S.C. § 1331, has subject matter jurisdiction over the allegations in the

Complaint.

        8.     Thus, the Saint Louis County action may be removed to this Court by MFS in

accordance with the provisions of 28 U.S.C. § 1441(a) because this is a civil action pending within

the jurisdiction of the United States District Court for the Eastern District of Missouri, Eastern

Division, and because the allegations made by the Plaintiff allege violations of the FDCPA and

TCPA.

        9.     Notice of removal is being filed within 30 days after service of the Complaint upon

MFS and is thus timely as set forth in 28 U.S.C. § 1446(d).

        10.    Pursuant to 28 U.S.C. § 1441(a), venue is proper because Saint Louis County lies

within the Eastern District of Missouri, Eastern Division.

        11.    Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint served on MFS is attached

hereto as Exhibit A.

        12.    A Civil Cover Sheet is attached hereto as Exhibit B.

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       13.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

contemporaneously being filed with the Circuit Court of Saint Louis County and served on

Plaintiff’s counsel. By serving a copy of this Notice of Removal upon Plaintiff’s Counsel, MFS

is giving Plaintiff proper notice of this removal.

       14.     MFS reserves the right to amend or supplement this Notice of Removal and further

reserves the right to raise all defenses and objections.

DATED:         June 26, 2017


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